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states allow the te:rrorists.”xz l‘l¢ even recommended using indiscri.-ninm
terrorism against the populations of those Arab countries that provide h
PLo with ananaai, polincai, and military supporf-” l

Kahane‘s espousal of brutal jewish countertcrrorism had not dun
much over the years, and in his latest book he vow¢=d to establish, upon
assuming the leadership of israel, special ]ewish ami-mmr groups rim
would operate all over thc world and help ]€WS Wl’\¢TCV¢!' there l$ trouble`
disregarding the local authorities and their laWS- Sll\€¢ th¢ SOV¢mmt.nt of
israel was not receptive to his notions, Kahanc’s followers and other indi.
viduals inspired by his idea soon started to act on their own. Out of lear of
the israeli police and secret services, they did not try to establish a penny
nent terrnr t)rganization, but rather engaged in occasional anti-Arab atroqz
ties, using the symbol of T.N.'I`.84

Kahanc’s devarees were actively involved in the intensliication of th¢
conflict between jews and Arabs in H¢l>t‘on in tl\¢ 19706. Yossi Dayan, a
student of i<ahane and later the secretary-general of Kach, has been caught
and arrested several times for provoking Arabs in the Cavc Of the Patriar¢h;_
ln an interview he once said, "! have had mOf¢ trials fl“n the number oi
stats on the American flag.”” Before the r¢C¢n¥ A\'ab “Pl'l$ln&i Wlil€h
changed all the rules of public trendqu iv fli¢ W¢$f Bi“l<, lt WaS usually
Kahanc’s followers who acted in response to Arab attacks, although by the
middle of the 19805 such pretexts as acting only itt reaction to Arab violence
seemed decreasingly nccessary. Ctaig L¢lm€f, a Kal\&n€ Stuclent, described a
typical mid-19805 operation:

Onc day towards the end of july 1984., l agreed with Miltc Gozovsky and
Ychucla Richtcr to operate against the Arabs. We left Kiryat Atba ln a hired
ear, headed towards Jerusal¢m. . . . That night around 23:00, we went to the
Neve Yaakov arca. Yehucla was driving. Around midnight, we saw an Arah
in his twenties walking along the toad. isald, “Let’s stop the car." lwcnt out
and hit the Arab with my iist on the shoulder. l also kicked him. He escaped
into the night. \ch continued to i-iebron and it was decided_-l don’t remem'
bet by whom-m burn Arnb care. Wc had in our car two plastic boan
containing four and a half liters of gasolino. in Hebron, Yehuda stopped the
car. Mike took the gasoline and poured it under several cars, maybe tht¢et
Aitcr Ychuda ser the cars aEre, we moved, not waiting to see what would
happcn. `l`here were dogs around and l was afraid that they would wake up
the neighbors, or perhaps hite us and wc would get rabies,“

Leitner and his friends later lired on on Aral> bus, wounding several
passengers. When asked for his reaction to their activitics, Kahane expressed
total approval. He said that he was sorry that they would have to spend
years in prison, and added that, itt his cyeS, they were Maccahces. LSt¢h
Kahane placed Yehuda Richter, the main suspect in the operationr 35 ““m'
ber two on his list for the Knessct. Had i<ach won two seats in 1984, Richt€x
would have been released from prison, due to the immunity of lsml'$
Kncssct members. Richtet Was also known as the commander of the “siiidd¢

 

 

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Religions Fundame¢iialism and I’olltical Quasl-Fuclsm 237

. uad” in the shelter at Yamit. When asked once by a journalist whether ll;ie
:Vou|d be willing to instruct his Eollowers not to hit innpcentl Arabls;1 wop
happened to be near a terror attaek, Kahane respondcd, _Nozf 3011-aig 01..
\5 long as they are here we are liist. l have no way of know;:gi t is

another is innocent. The real danger is the dcmographics.

gac}i’s most aggressive local stronghold has always been K'iryat Arl;;.oA§%
1515 such as Yossi Dayan, Eli Hazc‘ev (who was killed in the l saw h
mack on the Yesliiva students by the Beit Hadassah m l_‘l¢b\'on). _ C `
Marz¢l, and Shmuel Bcn-Yishai have initiated countless violent operations
._igainst the local Arabs since the mid-1970s Unlil<c _Rabbi Levinger arii\Jll
Eiyal<im l~laetzrii, who have said all along that they are interested in peacel d
cuexistence with thc native residents, Kach people have never conclca'e
their hope for a massive emigration` The only reason for their re avve
restraint has been their fear of the army. v l

in 1986, they established thc Comm`ittee for the l’rescrvation of Securitly,
whose stated purposc`was to patrol the roads in the area against roe -
throwchv But during the intifada, the committee became _a most aggressive
vigilantc group. Its notorious commander, Shmuel Ben'Yishai, publicly de-

clared that any incident involving harassment of Jewish traffic would mak€
him shoot to kill without warning.

l do not shoot in the ait. l shoot to kill. . . , lt is stupid to fire the entire
magazine in thc uit! Only thc ]cws speak about the “piiriry oflthe arms. ]|us;
a minutc! Listen who is talking about morallf¥= Slmmlf, fhc 5\55°5‘ “’m`"‘ 5‘

Rabin, who killed Jews on Alt:ilenn? Thc Americans, who murdered the
lnd`ians?”

Kach was violent long before the recent Palestinian uprising. its entire
posture-the yellow shirts with the black clenched fists, the attacks on Arab
families within the Green Line who move into chish neighborhopd§» the
chasing of innocent Atab workers for thc fun of it,l the anti-Aral) ' victorz;
parad:s"' the attempts to break up lettist meetings in a style reminiscent‘o
the italian fasciscs of the 19ZOs-have all spelled out hooliganism and vio~
lence. But the 1988 I’alestinian uprising prompted Kach to expand its activi-
ties. Kach's recent operations, which have already caused the death of sev'

eral Arabs, indicate that its main activists are certain that the decisive battle
for Eretz Yisrael has already started.

Xenophobi'a, Soci`al Darwini'sm, and Racist Symboh'sm

l<ahane`s anti-Atab strain has already been discusscd. Even as a political
stand, it is profoundly radical and exceptional in lsrai:li terms. Alrnost nodofnc
else came up with such a blunt proposition for mass Ar€\b €XP“IS\On 3“ °,1’
Sysrematic discrimination against thc remaining Arab residents Kahaiie s

